                        MEMORANDUM CASES.
This is an appeal from a judgment rendered in favor of plaintiff in an action in ejectment.
This case was tried and determined on the same evidence which was presented in the case of A. Van Noy et al. v. Ann Goldberget al., in which an opinion of this court was rendered and filed this day (see ante, p. 604 [277 P. 538]), and upon the determination of which this appeal depends. Both appeals affect the same real property. In that case a judgment upholding the validity of the foreclosure proceedings and the conveyance of the property to this respondent, Ann Goldberg, was affirmed. No new issues are raised on this appeal. It follows that this respondent is entitled to the possession of the property, together with damages awarded for the unlawful detention thereof.
[1] Upon the authority of A. Van Noy et al. v. AnnGoldberg et al., supra, the judgment in this case is affirmed.
Plummer, J., and Finch, P.J., concurred. *Page 797 